      Case 4:22-cv-00176-SMR-SHL Document 18 Filed 06/14/22 Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF IOWA
                                 CENTRAL DIVISION

 RACHEL RAAK LAW and MICAH                           )
 BROEKEMEIER, individuals,                           )   Case No. 4:22-cv-00176-SMR-SHL
                                                     )
      Plaintiffs,                                    )
                                                     )
      v.                                             )     DECLARATION OF MICAH
                                                     )   BROEKEMEIER IN SUPPORT OF
 ROBERT GAST, in his official capacity as            )     PLAINTIFFS’ MOTION FOR
 State Court Administrator for the Iowa              )    PRELIMINARY INJUNCTION
 Judicial Branch,                                    )
                                                     )
      Defendant.                                     )


                       DECLARATION OF MICAH BROEKEMEIER

I, Micah Broekemeier, declare under penalty of perjury that the following is true and correct to the

best of my present knowledge, information, and belief:

   1. I am a citizen of the United States, over 18 years of age, and a Plaintiff in this matter.

   2. I am a male resident of Johnson County, Iowa.

   3. Johnson County is part of Iowa’s First Congressional District as outlined in Senate Bill

621, which takes effect beginning with elections in 2022.

   4. I currently serve on the candidate nominating committee for the Johnson County

Republicans. As part of that committee, I interview Iowans who would make good candidates to

run for public office. I would like to serve my community by interviewing candidates for Iowa’s

appellate courts as a member of the State Judicial Nominating Commission.

   5. The next election for the State Judicial Nominating Commission will occur in January

2023. I would like to stand for election to the State Judicial Nominating Commission. The Iowa




                                                 1
Case 4:22-cv-00176-SMR-SHL Document 18 Filed 06/14/22 Page 2 of 2
